Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 1 of 11



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                       MDL NO. 2924
    PRODUCTS LIABILITY                                                                20-MD-2924
    LITIGATION
                                                         JUDGE ROBIN L. ROSENBERG
                                                MAGISTRATE JUDGE BRUCE E. REINHART
    _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER # 32
                  Order Concerning the Discovery Process and Dispute Resolution

   SCOPE OF THE ORDER

           To assist the Court and the parties in this multidistrict litigation proceeding accomplish and

   timely complete pretrial discovery efficiently and without undue delay and unnecessary expense,

   the Court intends to refer certain discovery disputes to Magistrate Judge Bruce E. Reinhart, as set

   forth in greater detail below.

      I.        GENERAL DISCOVERY PRINCIPLES

           A.     RULE 26(b)(1) - Relevance and Proportionality

           Federal Rule of Civil Procedure 26(b)(1), as amended on December 1, 2015, defines the

   scope of permissible discovery:

                  Unless otherwise limited by court order, the scope of discovery is as follows:

                  Parties may obtain discovery regarding any nonprivileged matter that is
                  relevant to any party’s claim or defense and proportional to the needs of the
                  case, considering the importance of the issues at stake in the action, the
                  amount in controversy, the parties’ relative access to relevant information,
                  the parties’ resources, the importance of the discovery in resolving the issues,
                  and whether the burden or expense of the proposed discovery outweighs its
                  likely benefit. Information within the scope of discovery need not be
                  admissible in evidence to be discoverable.


           Therefore, an objection that a discovery request is not reasonably calculated to lead to
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 2 of 11



   admissible evidence is based upon an outdated discovery standard. Such an objection will be found

   meritless by the Court. An objection based on relevance or proportionality must include a specific

   explanation describing why the request lacks relevance and/or why the requested discovery is

   disproportionate in light of the factors listed in Rule 26(b)(1).

          B.      Rule 26(c) - Protective Orders

          Federal Rule of Civil Procedure 26(c) permits the Court to enter a protective order “to protect

   a party or person from annoyance, embarrassment, oppression, or undue burden or expense.” A

   motion seeking relief under Rule 26(c) must include a specific explanation, supported by facts,

   demonstrating how complying with the discovery request would cause annoyance, embarrassment,

   oppression, or undue burden or cost. The Court will reject a conclusory unsupported statement that

   Rule 26(c) relief is warranted. See S.D. Fla. L.R. 26.1(g)(3).

          C.      Non-Waiver

          Discovery is a dynamic process. What is relevant or proportionate or cumulative or unduly

   burdensome can change as a case moves forward. The Court recognizes that a party may be

   unwilling to compromise its position on a particular discovery request because of a concern that the

   concession will be deemed to waive a future objection or a future demand for related discovery. To

   eliminate this concern, the Court evaluates all discovery requests and responses individually.

   Therefore, by responding, in whole or in part, to a discovery request, a party does not waive any

   objection to a future request. Likewise, by agreeing to limit the scope of a discovery demand, a

   requesting party does not waive its right to seek additional discovery in the future on the same or a

   related subject. Parties need not serve a response or objection that specifically reserves their rights

   or disavows a waiver.

          D.      Rule 26(g) Certification

          Federal Rule of Civil Procedure 26(g) requires, a lawyer or party requesting discovery,

                                                      2
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 3 of 11



   responding to a discovery request, or objecting to a discovery request to sign the relevant request,

   disclosure, response, or objection.     The signature “certifies that to the best of the person’s

   knowledge, information, and belief formed after a reasonable inquiry” that (1) any response to a

   discovery request is complete and correct and (2) any request, response, or objection is not for an

   improper purpose, such as delay or needless increase in litigation cost or otherwise unreasonable

   “considering the needs of the case, prior discovery in the case, the amount in controversy, and the

   importance of the issues at stake in the action.” Further, Rule 26(g) imposes an affirmative duty on

   counsel to conduct a reasonable inquiry prior to promulgating discovery or objecting to discovery

   and to conform discovery to what is reasonably necessary to the case at hand. The procedures

   outlined in this Order are designed to help counsel ensure that their Rule 26(g) certifications are

   accurate, and to provide the Court with a complete and accurate record to assess discovery behavior,

   including requests for sanctions based on discovery violations.

      II.        DISCOVERY OBJECTIONS

            A.     Boilerplate or General Objections

            The parties shall not make nonspecific, boilerplate objections in response to written

   discovery requests. See, e.g., Local Rule 26.1(e)(2)(A) (“Where an objection is made to any

   interrogatory or subpart thereof or to any production request under Federal Rule of Civil Procedure

   34, the objection shall state with specificity all grounds.”). The parties also shall not make General

   Objections that are not tied to a particular discovery request. Such objections will be found meritless

   by the Court.

            B.     Vague. Overly Broad, and Unduly Burdensome

            An objection that a discovery request is “vague, overly broad, or unduly burdensome,”

   standing alone, is meaningless, and will be found meritless by the Court. If a party believes that a

   request or a term is vague, that party shall attempt to obtain clarification from opposing counsel

                                                     3
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 4 of 11



   prior to objecting on vagueness grounds. An objection that a discovery request is “overbroad” is

   ambiguous because it lacks a clear explanation of the legal basis for the objection. Instead, if the

   objecting party asserts that the request seeks materials that are not relevant, the objection should so

   state. Alternatively, if a party objects on the ground that the request seeks materials that are relevant

   but excessive or cumulative, the objection should state that the request is disproportionate.

          If a party believes a discovery request seeks irrelevant information, is disproportionate, or is

   unduly burdensome, that party shall confer in good faith with opposing counsel to narrow the scope

   of the request before asserting these objections. The objecting party nevertheless shall respond as

   to those matters for which the scope or burden is not contested. For example, if there is an objection

   based upon the scope of the request, such as time frame or geographic location, discovery should be

   provided as to the time period or locations that are not disputed. Thus, if discovery is sought

   nationwide for a ten-year period, and the responding party objects on the grounds that only a five-

   year period limited to activities in the State of Florida is appropriate, the responding party shall

   provide responsive discovery falling within the five- year period as to the State of Florida.

          A party objecting on any of these grounds must explain the specific and particular way in

   which a request is vague, seeks irrelevant information, is disproportionate, or is unduly burdensome.

   See Fed. R. Civ. P. 33 (b)(4) and 34 (b)(2)(B); see also Democratic Republic of Congo v. Air Capital

   Grp., LLC, No. 12-CIV-20607, 2018 WL 324976, at *3 (S.D. Fla. Jan. 8, 2018) (citing Sallah v.

   Worldwide Clearing LLC, 855 F. Supp. 2d 1364, 1376 (S.D. Fla. 2012) (“A party objecting on these

   grounds must explain the specific and particular way in which a request is vague, overly broad, or

   unduly burdensome. In addition, claims of undue burden should be supported by a statement

   (generally an affidavit) with specific information demonstrating how the request is overly

   burdensome.”)).

          C.      Formulaic Objections Followed by an Answer

                                                      4
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 5 of 11



          A party shall not recite a formulaic objection followed by an answer to the request. It has

   become common practice for a party to object to a discovery request, and then state that

   "notwithstanding the above," the party will respond to the discovery request, subject to or without

   waiving such objection. Such a response preserves nothing. Further, it leaves the requesting party

   uncertain as to whether the discovery request (as propounded) has actually been fully answered,

   whether the response relates only to the request as unilaterally narrowed by the responding party,

   and whether the responding party is withholding any responsive materials or information.

          The proper practice is to state (1) whether documents are being provided in response to the

   request and provide identifying information as to those documents, and (2) whether any responsive

   documents or information are being withheld subject to an objection, and, if so, the specific legal

   basis for that objection. See Fed. R. Civ. P. 34(b)(2)(C) (objection must “state whether any

   responsive materials are being withheld on the basis of that objection.”); Local Rule 26.1(e)(6)

   (“Each page of any document produced in a non-electronic format must be individually identified

   by a sequential number that will allow the document to be identified but that does not impair review

   of the document.”). Samples of proper objections include:

          Defendant is providing documents marked as Defense 1 - 250, as well as a USB drive

   containing emails for the following custodians in native format ______. Defendant has identified

   other documents which are responsive to the request as propounded, but Defendant asserts that those

   additional documents are irrelevant to the claims and defenses in this matter because _______.

          Plaintiff is providing documents marked as Plaintiff 1-100. Plaintiff has identified other

   documents which are responsive to the request as propounded, but Plaintiff asserts that production

   of those materials would be disproportionate to the needs of the case because the burden and expense

   of the proposed discovery outweighs its likely benefit for the following reasons: _______.

          D.      Production at an Indeterminate Time

                                                    5
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 6 of 11



          It has also become a common practice to respond to Requests for Production by saying that

   the party will either produce responsive materials, or make those materials available for inspection,

   at an indeterminate future date. Such a response is not a response and only serves to delay the

   discovery process. Federal Rule of Civil Procedure 34(b)(2)(B) states that a production must be

   “completed no later than the time for inspection specified in the request or another reasonable time

   specified in the response.” Hence, unless otherwise agreed between the interested parties, and

   unless all unobjectionable materials are being produced contemporaneously with the written

   response, the response must specify a date by which production will be completed; the respondent

   may adopt the date proposed in the request or may propose its own reasonable time, after

   consultation with opposing counsel.

          Absent compelling circumstances, the Court expects the parties to engage in the rolling

   production of documents. The parties shall confer about a production schedule, including the order

   in which categories of documents will be produced, and a good faith estimate of the date by which

   production will be completed. The parties will be in the best position to assess the timing of

   discovery in a particular case. Therefore, the parties may agree to a longer period for production

   than what is stated in the Federal Rules or Local Rules, without leave of Court.

          In the absence of an alternative agreement among the parties, within 30 days of receipt by

   service of a discovery request, the responding party shall serve a written status report on the

   opposing party, providing an update on the status of production by category and a proposed schedule

   for completing the production. The opposing party shall respond within 72 hours. In the event the

   parties do not agree to a production schedule, the matter shall be presented to the Court pursuant to

   the procedures set forth in this Order.

          E.     Objections Based upon Privilege - Requests for Production and
          Interrogatories


                                                    6
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 7 of 11



           Generalized objections asserting attorney-client privilege or work product doctrine also do

   not comply with the Local Rules. Local Rule 26.1(e)(2)(B) requires that objections based upon

   privilege identify the specific nature of the privilege being asserted, as well as, inter alia, the nature

   and subject matter of the communication at issue and the sender and receiver of the communication

   and their relationship to each other. The parties are instructed to review Local Rule 26.1(e)(2)(B)

   and (C). If a general objection of privilege is made without providing a proper privilege log, the

   objection of privilege may be deemed waived. The production of non-privileged materials should

   not be delayed while a party is preparing a privilege log. The Producing Party shall produce a

   privilege log within forty-five (45) days after the production of documents category from which the

   documents being logged were withheld based on an assertion of privilege.

           F.      Objections Based upon Privilege – Depositions

           In general, it is improper for a party to object to a noticed deposition with a blanket assertion

   of privilege. See S.E.C. v. Merkin, 283 F.R.D. 689, 698 (S.D. Fla. 2012) (J. Goodman). Rather,

   assertions of privilege during a deposition should be raised on a question-by-question basis, thus

   providing the Court with a record from which it can determine whether each assertion of privilege

   was proper.

           Similarly, the Court typically will decline to rule on objections made in advance of a Rule

   30(b)(6) deposition of a corporate representative. “In situations where a particular [Rule 30(b)(6)]

   noticed topic is alleged to be outside the scope of Rule 26 discovery ... the remedy . . . does not

   involve this Court preemptively reviewing arguments on relevance or overbreadth.” Balu v. Costa

   Crociere S.P.A., No. 11-60031-CIV, 2011 WL 3359681, at *3 (S.D. Fla. Aug. 3, 2011) (J. Torres)

   (emphasis in original) (noting that “the Rule is intended to be self-executing and must operate

   extrajudicially”) (quoting New World Network Ltd. v. M/V Norwegian Sea, 2007 WL 1068124, at

   *2-3 (S.D. Fla. Apr.6, 2007)). Rather than the court intervening prior to the scheduled deposition,

                                                       7
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 8 of 11



   “the better procedure to follow” is for a corporate deponent to object to a topic as the questions are

   being posed, and for the opposing party to move to compel additional answers, if necessary, after

   the deposition. Balu, 2011 WL 3359681, at *4. This procedure “will give the Court a factual record

   with which to judge whether a particular topic or question asked should be compelled or not.” Id.

   In sum, while a lawyer can object to a deposition question and instruct a Rule 30(b)(6) witness not

   to answer on relevance grounds, the lawyer does so at his/her own risk.

             G.     Instructions to the Responding Party

             A party propounding discovery cannot impose legal obligations on the respondent through

   the use of Instructions. Discovery is governed by the rules of Court, which cannot be unilaterally

   supplemented by a party. Any Instruction that purports to impose a duty not otherwise mandated

   by the Federal Rules of Civil Procedure or the Local Rules of this Court has no legal effect and only

   serves to waste the time and resources of the Court and the parties.

      III.        PROCEDURES FOR DISCOVERY DISPUTES

             H.     Pre-hearing Communication

             The Parties are encouraged to continue to meet and confer and engage in a reasonable

   compromise in a genuine effort to resolve their discovery disputes. If the Parties are unable to

   resolve the dispute, they must meet and confer (via videoconference) with the Special Master in a

   final attempt to resolve the dispute without the need for Court intervention.

             I.     Hearing Procedures

             If, after conferring, the parties are unable to resolve their discovery disputes without Court

   intervention, the parties may request a discovery hearing by sending an email to

   Zantac_MDL@flsd.uscourts.gov, with a cc to the Special Master. The subject line of the email shall

   be “Request for Discovery Hearing”. The email shall provide the Court with three afternoons in

   the following ten business days where all parties directly involved in the discovery dispute are

                                                       8
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 9 of 11



   available. The email shall state the amount of time that the parties anticipate needing for the

   hearing. The email shall also attach a joint discovery memorandum of five pages or less (1)

   specifying the substance of the discovery matter to be heard, and (2) stating with specificity the

   relief being requested. The memorandum should include attachments of copies of all source

   materials relevant to the discovery dispute (e.g., if the dispute concerns interrogatories, the

   interrogatories at issue and any responses thereto shall be provided to Chambers). A sample

   discovery memorandum is attached as Appendix 1 to this Order. Only issues addressed in the joint

   discovery memorandum may be raised at the discovery hearing.

          The email shall be copied to counsel for all parties directly involved in the dispute, and

   shall certify that the party seeking a hearing (or where the hearing is jointly requested, the party

   sending the email) has conferred with opposing counsel and confirmed opposing counsel’s

   availability on the proposed dates.

          Unless otherwise ordered by the Court, all Discovery Hearings will be conducted

   telephonically or by video conference, whether the hearing is set before Judge Rosenberg or Judge

   Reinhart. The parties shall disclose any exhibits, slides, handouts, or other materials to be used at a

   discovery hearing at least 24 hours in advance of the hearing.

          The procedures in this Section do not apply to objections to third-party subpoenas.

          J.      Encouraging Participation by Less-Experienced Lawyers

          The Court has a strong commitment to supporting the development of our next generation

   of lawyers.    The Court encourages parties and senior attorneys to allow less-experienced

   practitioners the opportunity to argue in court. A party should advise the Court prior to the beginning

   of the hearing if a lawyer who has 7 or fewer years of experience or has been appointed to the

   Leadership Development Committee will be arguing a discovery matter. In that event, the Court

   will allow multiple lawyers to argue; otherwise, only one lawyer will be permitted to argue for each

                                                     9
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 10 of 11



   side.


   DONE and ORDERED in Chambers, West Palm Beach, Florida, this 18th day of June, 2020.


                                          _______________________________________
                                          ROBIN L. ROSENBERG
                                          UNITED STATES DISTRICT JUDGE




                                           10
Case 9:20-md-02924-RLR Document 877 Entered on FLSD Docket 06/18/2020 Page 11 of 11



                                                 APPENDIX 1

          The parties certify that they have complied with the requirements for pre-hearing

   consultation contained in Pretrial Order # 32. Despite good faith efforts to resolve their differences,

   the following issues require resolution by the Court

    1. The parties dispute the appropriate time frame for Plaintiffs’ Interrogatory Nos. 1, 5, 6-9.

       Defendant asserts that the time frame should be limited to _____ because [legal basis for

       position, such as relevance, undue burden, disproportionate]. Plaintiff believes the proper time

       frame is ______. Plaintiff asks the Court to compel better answers to Interrogatories 1, 5, 6-9.

    2. Defendant objects to Request for Production 3. Defendant has produced _____in response to

       the Request, believes that additional responsive documents exist, but objects to the production

       of those documents because_____.         Plaintiff believes that all the materials sought by the

       Requests are [relevant/proportional/not unduly burdensome] because _____. Plaintiff asks the

       Court to compel production of the withheld documents.

    3. Plaintiff objects to Request for Production 9, which calls for production of voluminous

       documents/electronic communications. Plaintiff asserts that it will be unduly burdensome and

       costly to conduct searches to identify if responsive documents exist. Defendant asserts that, to

       minimize cost and burden, it has proposed to limit the time frame of the request and has offered

       search terms as follows: _____.

    4. Plaintiff objects to Interrogatory 7 because it would require disclosure of communications and

       materials protected by the attorney-client/work product privilege. Defendant asserts that no

       privilege exists because _____.

          Copies of the relevant discovery requests and related pleadings are attached, as follows:

        1.        Plaintiffs First Interrogatories and Defendant’s Response and Objections

        2.        Defendant’s Request for Production and Plaintiffs Objections

                                                     11
